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21       Arbitration hearing, held at the offices of
22 JAMS, 8401 N. Central Expressway, Dallas, Texas,      22
23 commencing at 9:09 on the above date, before Terri    23
24 Garcia, CSR.                                          24

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 1                   APPEARANCES:
                                                          1              PROCEEDINGS
 2  FOR THE CLAIMANT:
                                                          2         (Monday, April 4, 2016, 9:09 a.m.)
 3      MS. JENNIFER MORRIS ANDREWS
        Wallach Andrews                                   3           MR. DAVICK: Your Honor, as you know, we've
 4      2501 Parkview Drive
        Suite 303                                         4 had, you know, multiple off the record -- I don't know
 5      Fort Worth, Texas 76102
        Phone: (817) 338-1707                             5 if you would call them off the record, but on phone
 6      E-mail: j.andrews@wallach-law.com
                                                          6 conversations regarding a variety of issues. The first
 7 FOR THE RESPONDENT:
                                                          7 issue I want to address and just make sure we have a
 8      MR. ANDREW DAVICK
        MS. ASHLEIGH E. RASO                              8 record for it is to make clear, Your Honor, and I know
 9      Meshbesher S Spence
        1616 Park Avenue                                  9 you've ruled on this in the past, but we've objected to
10      Minneapolis, MN 55404
        Phone: (612) 339-9121                            10 this forum. I wanted to make sure there was a record of
11      E-mail: araso@meshbesher.com
                                                         11 that.
12                                                       12           THE COURT: Yes. Well, and there's an
   ALSO PRESENT:
13                                                       13 order to that effect.
        Mr. Tom Needham
14      Ms. Karin Cagle                                  14           MR. DAVICK: I didn't know if there was
        Mr. Lerone Landis
15      Mr. Steven M. Johnson                            15 a --
16                                                       16           THE COURT: We briefed that -- that was
17                                                       17 briefed early on.
18                                                       18           MR. DAVICK: And I appreciate that, Your
19                                                       19 Honor.
20                                                       20           THE COURT: There was an interim order, but
21                                                       21 yes.
22                                                       22           MR. DAVICK: Yeah. I just wanted to renew
23                                                       23 that objection --
24                                                       24           THE COURT: Okay.

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 1           MR. DAVICK: -- that the MDL forum was the         1 disclosure to us. They said that is an issue for Your
 2 proper forum. I know that it's denied, but I wanted to      2 Honor, and --
 3 get that on the record.                                     3           THE COURT: Well, and I'm not here to
 4           THE COURT: Although my understanding is           4 testify.
 5 Ms. Yanni, as well, has yielded jurisdiction.               5           MR. DAVICK: No, I understand that. I just
 6           MR. DAVICK: Well, she canceled our                6 want to make sure it's clear that there is a refusal to
 7 arbitration. I don't know what she yielded.                 7 disclose, on the record.
 8           THE COURT: She dismissed it.                      8           THE COURT: Fine. I think by the way that
 9           MR. DAVICK: Correct. The second issue,            9 the disclosure explained -- I think there's a time frame
10 Judge, was the issue that we discussed I believe on        10 in that disclosure. If I recall, it was -- it -- our
ii Friday at the pretrial, which was the issue of             ii records go back five years and I think this was more
12 nondisclosure. It came to our attention Thursday via       12 than five and I think that's included in the disclosure,
13 our own research that there was a failure to disclose      13 but I thought that was made last April.
14 the fact that The Johnson Law Firm was also presently in   14           MR. DAVICK: The -- the fact that you had a
15 the process or going to begin the process of arbitrating   15 prior proceeding --
16 with Your Honor. It had been disclosed to us through       16           THE COURT: Uh-huh.
17 you, Your Honor, that Ms. Andrews had a pending            17           MR. DAVICK: -- was disclosed, the nature
18 arbitration. It was not disclosed that Mr. Johnson was,    18 of it was not, and we just want to and, I mean, if they
19 in fact, the client in that proceeding.                    19 want to put on the record that they are not willing to
20            As a result of our objection and the            20 provide the nature of that dispute, I'd like to get that
21 discussions on Friday, Your Honor felt that that was not   21 on the record.
22 an issue, that you had consulted with legal counsel for    22           MR. NEEDHAM: Your Honor, it's my
23 JAMS and didn't feel that nondisclosure kept you from      23 understanding from the JAMS rules that the duty of the
24 proceeding today at today's hearing.                       24 parties and representatives are to disclose to the

                                                     Page 6                                                        Page 8

 1            THE COURT: And as you're aware, I've           1 arbitrator anything that might be a problem or show
 2 withdrawn from the other arbitration.                     2 bias, et cetera, to the arbitrator and that it is the
 3            MR. DAVICK: That is correct and I also         3 arbitrator's duty to disclose or not disclose what the
 4 wanted to make sure it was on the record, because there 4 arbitrator feels is appropriate to disclose to all the
 5 was a little bit of confusion that Your Honor was chosen  5 parties.
 6 by the parties in the other action. There's been some     6           THE COURT: I'm not -- I disclosed my part
 7 discussion whether it was court appointed or chosen by    7 of it, and that's been a year ago. There's no secret
 8 the parties.                                              8 about what it was. It's just I'm not going to turn this
 9            THE COURT: Yeah, as I -- as best I know,       9 in to an inquisition of the arbitrator.
10 because I'm not into that arbitration yet, I've          10           MR. NEEDHAM: I understand.
11 conducted or made no rulings, but the parties agreed to 11            THE COURT: I made that a year ago. I'm
12 me, but -- but the appointment was made by the federal 12 disappointed that there hasn't been an exchange of
13 court.                                                   13 information, but we're not here today to -- to quiz the
14            MR. DAVICK: The other issue, Your Honor, 14 arbitrator about a disclosure that he made a year ago.
15 that I wanted to get on the record and I had some        15           MR. DAVICK: And I appreciate it. I was
16 conversations with Mr. Needham this weekend on this 16 not actually asking Your Honor. I'm asking the other
17 particular issue, it had been brought to our attention   17 side to make the disclosure and I just want to make sure
18 that you had previously arbitrated a dispute for         18 it's on the record --
19 Mr. Johnson in the past.                                 19           THE COURT: Okay.
20            THE COURT: Yeah, I disclosed that last        20           MR. DAVICK: -- that they have refused such
21 year.                                                    21 a disclosure.
22            MR. DAVICK: Yes. And we have asked the 22                  THE COURT: Fair enough.
23 other side just for the nature of what that dispute was 23            MR. NEEDHAM: Fair enough.
24 and when it occurred, and they have refused such a       24           MS. ANDREWS: And just on that. Your Honor,


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 1 if I may?                                                1 is, again, for purposes of preservation. I anticipate a
 2            THE COURT: And by the way, that -- it's a     a denial. There had been a previous settlement in this
 3 confidential proceeding, and I -- it's unfortunate that  3 matter. There was a settlement agreement that had been
 4 this has developed today as opposed to a year ago when 4 drafted. It has not been signed by either party. We
 s the disclosure was made. But be that as it may, I mean, 5 would simply be seeking a motion to enforce that
 6 that's where we are. I mean, that -- this proceeding     6 settlement agreement, but I'm sure they're going to say
 7 today is -- is not about that and if that's a rabbit     7 it was repudiated, which it was not, but --
 a trail, I don't want to -- I don't want us to follow it.  8           THE COURT: I don't know anything about it
 9 Go ahead.                                                9 and, frankly, I haven't thought anything about
10            MS. ANDREWS: My two points, Your Honor, 10 settlement agreements because those are not admissible
11 are that under 15(h) JAMS Rules, the parties are only 11 as to my -- my decisions.
12 required to disclose circumstances that give rise to    12           MR. DAVICK: I agree, Your Honor, but you
13 justifiable doubt as to your impartiality or            13 are the sole arbitrator at this point of law and fact
14 independent, including bias, financial or personal      14 and so we wanted to --
15 interest. I know that you're familiar with the rule.    15           THE COURT: Are you telling me that there
16 And in my opinion, the fact that Your Honor arbitrated 16 is a written settlement agreement?
17 another -- a previous arbitration involving Mr. Johnson 17           MR. DAVICK: They drafted it.
18 more than five years ago certainly doesn't meet that    18           THE COURT: Is it signed?
19 criteria, and since this was disclosed to counsel, I    19           MR. DAVICK: They won't sign it. We have
ao believe it was in 2014 --                               20 an e-mail reflecting that they felt we repudiated the
21            THE COURT: Oh.                               21 settlement.
22            MS. ANDREWS: -- when the arbitration was 22               THE COURT: Are we talk -- are you making
23 commenced.                                              23 some request to enforce an unsigned settlement
24            THE COURT: You know, this thing has gone 24 agreement?

                                                     Page 10                                                      Page 12

 3. on so long, I thought it was only a year ago.              1           MR. DAVICK: Well, correct, Your Honor, it
 2           MS. ANDREWS: No, 2014. We respectfully            2 was settled, they drafted a memorandum of understanding,
 3 submit that there's been waiver under Rule 27.              3 the settlement agreement. They indicated that we
 4           THE COURT: Well, look, my belief is that          4 repudiated it but, in fact, their e-mails disclose
  s these issues of disclosure are not findings of fact that 5 otherwise.
  6 I'M going to make. I mean, you can make a record of it    6           THE COURT: Well, you can make whatever
  7 and then if-- if the case goes to a confirmation          7 record you want on it. I mean, it's -- it would be a
     hearing and it is a basis or a challenge for vacatur, I  8 Rule 11 agreement, for example, unless its signed. But
  9 assume some trial judge will address all of those         9 I -- I mean, I don't know what the circumstances of that
10 issues. I'm not here to rule on those and not here to 10 are, so I -- I mean, I don't know what you're asking me.
11 testify about them or make any decisions, but I do want 13.            MR. DAVICK: I -- we would be asking --
12 to give Mr. Davick an opportunity to say what he wants 12 seeking to enforce it as the sole arbitrator. For
13 to say on the record.                                     13 example, Your Honor, if a settlement occurred and you
14            MR. DAVICK: Yeah, and Your Honor, and 14 were a pending trial court judge, it would be before
15 that's what I -- I just wanted to make clear that there 15 Your Honor to seek enforcement of the said settlement
16 was a nondisclosure of that information, it's their duty 16 agreement.
3.7 and leave it at that so we have a record for later on.   17           THE COURT: If there was-- if I was a
18            THE COURT: All right. Now --                   18 trial judge and there was a settlement made and it
19            MR. DAVICK: One other point, your Honor, 19 wasn't enforceable under Rule 11, it wouldn't be a
20 if I may. Sorry, 1 know you want to get going on this o settlement. So, I mean, if you've got a motion and you
21 thing.                                                    21 want to make some presentation on that now or-- or --
22            THE COURT: I do.                               22           MR. DAVICK: Do you have the exhibit?
23            MR. DAVICK: And I want to travel, so one 23                 THE COURT: -- when you put on your case in
24 issue, Your Honor, we would bring a motion -- and this 24 chief, that's up to you.


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 1           MR. DAVICK: Yeah, Your Honor, I would like 1 of it.
 a to introduce --                                              2            So the only -- the only thing that I -- I
 3           THE COURT: But I don't -- I'm not going            3 think we need to do -- this -- this case is -- is almost
 4 to -- I don't want to start this arbitration proceeding      4 ready to collapse under its own weight. I mean, this --
 5 with an enforcement of  an  unsigned  settlement agreement.  s  this one-day arbitration has taken a life of its own and
 6 If you've got a document that you want to enforce as an      6 I think it's good that we finally are able to resolve it
 7 affirmative defense or part of your case in chief, then      7  hopefully   through testimony today.
 a I'm happy to do that, but I don't want to put the cart       8            But one rule that I will expect everybody
 9 before the horse here.                                       9 to adhere to, because we do have multiple lawyers, the
10            MR. DAVICK: Maybe we can wait, Your Honor, io issue of Ms. Cagle aside, whoever takes a witness,
11 until presentation of evidence.                             ii that's -- that's their witness. And whoever makes a
12            THE COURT: I think that's -- I'm not             12 motion, that's their motion, and whoever responds to it,
13 suggesting if you think you've got some defense based on 13 they're on their own. So it's kind of "one riot, one
14 a settlement that you've -- that I'm not going to           14 ranger," if you follow me.
15 deprive you of that opportunity, but you've got to bring 15               MS. ANDREWS: Absolutely, Your Honor, but
16 it at the proper time and I think they've got the           16 that wasn't actually the basis of my objection.
17 initial burden, so they've got the floor.                   17            THE COURT: I know it. I know it, but I
18            MR. DAVICK: Fair enough.                         18 wanted to get that out of the way because we're getting
19            THE COURT: Okay.                                 19 too many -- we've got -- we've got plenty of lawyers
20            MR. DAVICK: Thank you, Judge.                    ao here and I don't want it to become some free for all.
21            THE COURT: Anything else?                        21            MS. ANDREWS: Understood and I appreciate
22            MR. DAVICK: Nothing else.                        22  the clarification --
23            THE COURT: Anybody want to make an opening 23                  THE   COURT:    Okay.
24 statement? Are we -- where are we?                          24            MS.  ANDREWS:      -- but my -- my request --

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             MS. ANDREWS: I'm happy to. We have a very           1           THE COURT: I'm not going to exclude
 2 short one, Your Honor.                                        2 Ms. Cagle, if that's where you're going.
 3          THE COURT: All right. Go ahead, please.              3           MS. ANDREWS: From listening to testimony?
 4            You know what, there is one other -- I'm           4          THE COURT: From this proceeding.
 5 not quite sure who's going to testify. I know there's a       5          MS. ANDREWS: From listening to the
 6 motion to exclude Ms. Cagle and there's some other --         6 testimony as an expert witness?
 7 but I -- I think I'd just like it if all six of you           7          THE COURT: Uh-huh.
 8 would raise your right hands.                                            MS. ANDREWS: You are-- I just want to get
 9            (Witnesses were sworn.)                            9 that clear that you are not going to allow -- require
10            THE COURT: Good. Thank you. And just be           10 her to not listen to the testimony.
11 sure and remind me to do the same for Mr. Drake. Go          ii          THE COURT: I will not.
12 ahead.                                                       12          MS. ANDREWS: All right. Thank you, Your
13            MS. ANDREWS: Your Honor, I do have a              13 Honor.
14  question. Ms. Cagle is designated as an expert witness      14          CLAIMANT'S OPENING STAIEMENT
15 and she is present here. Could you invoke the rule?          15          MS. ANDREWS: Jennifer Andrews on behalf of
16            THE COURT: You know, I'm going to let             16 Steve Johnson. This should be a straightforward breach
17 everybody that's seated here stay here. I'll let you         17 of contract fee dispute. There's a valid contingency
la make -- I'll let you make your motion. I've read it as       18 fee agreement. It was fully performed. Mr. Drake
19 it relates to Ms. Cagle. The only -- only -- I'll tell       19 unilaterally terminated it without cause, certainly not
20 you where we're headed here. One lawyer, one witness.        20 without good cause. The new attorneys were placed upon
21 Beyond that it's not going to get any more complicated       21 notice of the lien and they declined to honor it, at
22 than that. I'll sort it out when I make the final            22 which point the contract was in breach requiring
23 ruling. That includes the motion for spoliation.       -     23 enforcement of it. That's essentially our-- the case.
24 You're welcome to present that but I'm going carry all       24          In an effort to avoid this contract, the


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 1           MS. ANDREWS: First revision. We've not 1 hip?
 2   been provided any other documentation.                 2    A. I believe that's correct, yes.
 3           THE COURT: So based -- and I'm just taking 3        Q. And were there any deductions for this award?
 4 this portion of the testimony now, but what I -- my      4    A. He -- the base award was 250,000. Because of
 5 notes reflect is we've got first hip, which is the left  5 the latency or implant length of seven years, there was
 6 hip, we've got a Part A, three paid Part Bs, a pending     a deduction and the result was that the award was
 7 Part B, then we've got --                                7 150,000 after that deduction. And that's the only
 8           MS. ANDREWS: A revision -- re-revision. a deduction.
 9           THE COURT: We've got a second -- we've got 9        Q. And so what is Exhibit 12 and 13, just for
10 a second revision, Part A, but no Part Bs?              10 closure purposes?
11           MS. ANDREWS: That's what we've been n               A. Exhibit 12 is the orange form. It's a form
12 provided.                                               12 that's compiled or it's submitted, and it's for the --
13           THE COURT: Okay.                              13 hold on -- yeah, this is the -- this is the orange form
14           MS. RASO: I think you're confused, Your 14 that he filed and this is a form that he needs to file
15 Honor. There's no Part B to the re-revision. The        15 that indicates the -- the lawsuit that's pending, as
16 re-revision is a Part B. Is that where it is?           16 well as the -- I believe this is the form that's filed
17           THE COURT: Well, maybe -- and that's maybe 17 for the -- getting tired.
la just in the way that --                                 18   Q. Red form.
19           MS. RASO: Yeah.                               19   A. Yeah, with the red form. And I don't think all
20           THE COURT: -- that they're defining it?       20 of it's here, frankly.
21           MS. RASO: Sure.                               21   Q. And what is Exhibit 13?
22           THE COURT: Okay. Okay. Well, y'all will 22         A. And 13 is the blue claim form, which is used
23 clear that up, but -- okay. I'm following you. So now 23 for lien resolution, wherein he is required to provide
24 we are on -- we are now on second hip --                24 all of the names of the potential lienholders so that --


                                                    Page 210                                                     Page 212

 1              MR. JOHNSON: The right hip.                    1  because in this settlement, one of the interesting
 2              THE COURT: -- the right hip. Okay. I'm         2  provisions of it was that the defendant agreed to pay
 3   with you.                                                 3 liens related to the treatment for complications and
 4             MR. JOHNSON: So the right hip, Part A           4 revision of the device.
 5   award is 150,000. There's a spousal benefit of 1500,      5    Q. What is 14?
 6   and there's a common benefit fee withholding. And the     6    A. This is the release, I believe, if I try to
 7   total settlement award payment is 142,410.                7 read it. It's very difficult to see, but this is the
 8             THE COURT: 142,010.                             8 release of all claims.
 9             MR. JOHNSON: 142,410.                           9    Q. Significance of which is what?
10             THE COURT: 410. Well, and that's going to      10    A. Well, this is -- this is what he's going to
ii   be Part A?                                               11 file that's going to -- as he enters into the
12             MR. JOHNSON: Yes, sir.                         12 settlement, it's required, and that's what he's going to
13             THE COURT: How much -- and I'm not -- I'm      13 do and release all his claims against any potential
14   not sure that it's all that critical, but I mean, if I   14 defendants.
15   was smarter, I could do the math myself. But would you 15      Q. And has, in fact, Mr. Drake entered into
16   happen to have access to what the common benefit 16 this --
17    deduction was?                                          17    A. Yes.
18             MR. JOHNSON: Yes, sir. It's $9,090, and 18           Q. -- settlement?
19   it is a deduction of both the Part A award and the       19    A. Yes, he has. And the date of his signature is
20   spousal benefit amount.                                  20 4/13/2015.
21             THE COURT: Okay. All right.                    21    Q. Okay.
22      Q. (BY MS. ANDREWS) And at this point, is it 22                    MS. ANDREWS: Your Honor, at this point, I
23   accurate to say that we have not received any            23 think we probably need to conclude until we find another
24   information about any pending Part B awards to the right 24 date.


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 1           THE COURT:Well,Ihatetogothroughthis
 2 drill again.
 3           THE REPORTER: Do y'all want to go off for
 4 this part or stay on?
 5           MR. DAVICK: Yeah.
 6           MS. ANDREWS: Yeah.
 7           THE COURT: Yeah, probably. I don't
 8 think...
 9           (Proceedings recessed at 4:26 p.m.)
10
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                                                    Page 214
 1                     REPORTER'S CERTIFICATION
 2             I, TERRI GARCIA, Certified Shorthand Reporter
 3   in and for the State of Texas, hereby certify that this
 4   transcript is a true record of the arbitration
 5   proceedings held in the foregoing matter on April 4,
 6   2016.
 7             I further certify that I am neither counsel
 8   for, related to, nor employed by any of the parties or
 9   attorneys in the action in which these proceedings were
10 taken; and, further, I am not a relative or employee of
11 any attorney of record in these proceedings, nor am I
12   financially or otherwise interested in the outcome of
13   these proceedings.
14             Certified to by me this 15th day of April,
15   2016.
16
17
                             Terri Garcia, Texas CSR-6581
18                           Expiration Date: 12/31/2016
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21       Arbitration hearing, held at the offices of
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22 JAMS, 8401 N. Central Expressway, Dallas, Texas,
23 commencing at 8:59 a.m. on the above date, before Terri   23
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 2   FOR THE CLAIMANT:
                                                              2           (Monday, May 9, 2016, 8:59 a.m.)
 3        MS. JENNIFER MORRIS ANDREWS
          Wallach Andrews                                     3            MS. ANDREWS: Your Honor, when we last
 4        2501 Parkview Drive
          Suite 303                                           4 concluded, we were in the process of discussing and
 5        Fort Worth, Texas 76102
          Phone: (817) 338-1707                               5 walking through the notices of awards that Mr. Drake had
 6        E-mail: j.andrews@wallach-law.com
                                                              6 to-date received --
 7   FOR THE RESPONDENT:
                                                              7            THE COURT: Uh-huh.
 8        MR. ANDREW DAVICK
          MS. ASHLEIGH E. RASO                                8            MS. ANDREWS: -- from the settlements. And
 9        Meshbesher & Spence
          1616 Park Avenue                                    9 I'd like to conclude with a discussion concerning
10        Minneapolis, MN 55404
          Phone: (612) 339-9121                              10 exactly how Mr. Johnson is calculating his attorney's
11        E-mail: arasofteshbesher.com
                                                             11 fees from the awards that --
12                                                           12
     ALSO PRESENT:                                                         THE COURT: Okay.
13
          Mr. Tom Needham                                    13            MS. ANDREWS: -- from the notices to date.
14        Ms. Karin Cagle                                    14 Marked as SMJ-A is a spreadsheet of the notices of
          Mr. Steven M. Johnson
15                                                           15 awards annotated as to the particular exhibits. I have
16                                                           16 handwriting on those. I'm sorry. Those are -- I
17                                                           17 didn't -- you don't need to -- I mean, they're the same,
18                                                           18 but I didn't mean to write on yours, Your Honor. Here's
19                                                           19 a blank one. Sorry. I wrote on that. I apologize.
20                                                           20            THE COURT: Okay.
21                                                           21            MR. JOHNSON: I got it.
22                                                           22            MS. ANDREWS: There we go. And in
23                                                           23 conjunction with that, we submitted a supplemental
24                                                           24 exhibit last week to the Court and to Meshbesher &



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 7                   ) Ref No.                              8         Examination by Ms. Raso                          649
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 9                                                         11
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13         ARBITRATION HEARING, VOLUME 3
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15                                                         16         Further Examination by Ms. Raso                  830
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21       Arbitration hearing, held at the offices of
22 JAMS, 8401 N. Central Expressway, Dallas, Texas,        22
23 commencing at 9:02 a.m. on the above date, before Terri 23
24 Garcia, CSR.                                            24

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 1                  APPEARANCE Sr
                                                            1               PROCEEDINGS
 2 FOR THE CLAIMANT:
                                                            2          (Tuesday, May 10, 2016, 9:02 a.m.)
 3      MS. JENNIFER MORRIS ANDREWS
        Wallach Andrews                                     3            MS. ANDREWS: May I discuss this.
 4      2501 Parkview Drive
        Suite 303                                           4            MR. DAVICK: Sure.
 5      Fort Worth, Texas 76102
        Phone: (817) 338-1707                               5            MS. ANDREWS: Your Honor.
 6      E-mail: j.andrews@wallach-law.com
                                                            6            THE COURT: Yo?
 7 FOR THE RESPONDENT:
                                                            7            MS. ANDREWS: Yesterday, Mr. Davick asked
 8      MR. ANDREW DAVICK
        MS. ASHLEIGH E. RASO                                8 Mr. Johnson to find, if possible, the notice sent to the
 9      Meshbesher & Spence
        1616 Park Avenue                                    9 manufacturer that Mr. Johnson represented Mr. Drake in a
10      Minneapolis, MN 55404
        Phone: (612) 339-9121                              10 product liability case, and this is it that you're
11      E-mail: araso@meshbesher.com
                                                           11 looking at, Exhibit SNJ1-A.
12                                                         12            THE COURT: Okay.
   ALSO PRESENT:
13                                                         13            MS. ANDREWS: Dated March 12th, 2012.
        Mr. Tom Needham
14      Ms. Karin Cagle                                    14 That's when it was faxed to the manufacturer. The
        Mr. Steven M. Johnson
15                                                         15 letter's clearly dated March 10, spreadsheet is
16                                                         16 3/12/12 --
17                                                         17            THE COURT: Okay.
18                                                         18            MS. ANDREWS: -- identifying Mr. Drake as a
19                                                         19 represented client in the DePuy ASR.
20                                                         20            THE COURT: Is somebody offering it, is
21                                                         21 that --
22                                                         22            MS. ANDREWS: I am offering this.
23                                                         23            MR. DAVICK: No objection, obviously,
24                                                         24 Judge.


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